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                                     UNITED STATES DISTRICT COURT
                                         DISTRICT OF MARYLAND

          CHAMBERS OF                                                            101 WEST LOMBARD STREET
    STEPHANIE A. GALLAGHER                                                      BALTIMORE, MARYLAND 21201
  UNITED STATES DISTRICT JUDGE                                                         (410) 962-7780
MDD_SAGchambers@mdd.uscourts.gov




                                                          January 3, 2024


    LETTER TO COUNSEL

          Re:   U.S.A. v. Charles Jenkins and Robert Krop
                Criminal Case No. SAG-23-0123

    Dear Counsel:

           This is to confirm the results of today’s scheduling conference call.

           Joint voir dire, a proposed verdict sheet, and the government’s jury instructions (with a
    copy e-mailed to MDD_SAGchambers@mdd.uscourts.gov) and any motions in limine are due
    September 6, 2024. Both trials shall be continuous including Friday.

           Robert Krop:

                    Pretrial Conference          November 25, 2024 at 9:00 a.m.

                    Eight-day jury trial         December 9, 2024 at 9:30 a.m.

           Charles Jenkins:

                    Pretrial Conference          January 3, 2025 at 9:30 a.m.

                    Seven-day jury trial         January 27, 2025 at 9:30 a.m.

           Despite the informal nature of this letter, it is an Order of the Court and will be docketed
    as such.

                                                         Sincerely yours,

                                                                /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
